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            In the United States Court of Federal Claims

                                                   )
 MONTANA HEALTH CO-OP,                             )
                                                   )
                        Plaintiff,                 )
                                                   )             No. 18-143C
 v.                                                )             (Filed: October 5, 2018)
                                                   )
 THE UNITED STATES OF AMERICA,                     )
                                                   )
                        Defendant.                 )
                                                   )
                                                   )
                                                   )


                                             ORDER

        On September 4, 2018 this Court granted summary judgment as to liability in this case,

holding that the United States was statutorily obligated to provide the Plaintiff, Montana Health

Co-op, with cost-sharing reduction (CSR) payments for the fourth quarter of 2017, and that this

obligation was not vitiated by Congress’s failure to appropriate funds for that purpose. See Op.

& Order, ECF No. 18. The United States has since agreed that had a valid appropriation for CSR

payments been available, the amount it would have owed Montana Health for the fourth quarter

of 2017, following benefit year 2017 reconciliation, is $1,234,058.79. Joint Status Report at 1–2,

ECF No. 21. Montana Health therefore has requested that the Court enter a final order awarding

it $1,234,058.79, representing the cost-sharing reduction payments that would have been due and

owed to Montana Health for the fourth quarter of 2017 following reconciliation.

       Based on the representations made in the parties’ Joint Status Report, and in accordance

with Rule 54 of the Rules of the Court of Federal Claims, the Clerk is directed to enter final
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judgment for Plaintiff Montana Health Co-op in the amount of $1,234,058.79. Costs are awarded

to Plaintiff.

        IT IS SO ORDERED.


                                                  s/ Elaine D. Kaplan
                                                  ELAINE D. KAPLAN
                                                  Judge




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